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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


     BRENDA BALLIACHE,                                  CASE NO.:

             Plaintiff,

     vs.

     REALTIME PROPERTY
     MANAGEMENT OF SOUTH
     FLORIDA LLC,
     a Florida Limited Liability Company,

             Defendant.
                                                    /

                          COMPLAINT AND DEMAND FOR JURY TRIAL

           The Plaintiff, BRENDA BALLIACHE (“Ms. Balliache” or “Plaintiff”), by and

    through her undersigned counsel, sues the Defendant, REALTIME PROPERTY

    MANAGEMENT OF SOUTH FLORIDA LLC (“Realtime” or “Defendant”) and alleges the

    following:

           1.       Plaintiff brings these claims against Defendant for sexual orientation

    discrimination and retaliation in violation of Title VII (“Title VII”) and the Florida Civil

    Rights Act, Chapter 760, Fla. Stat. (“FCRA”). Plaintiff is seeking damages including back

    pay, front pay, compensatory damages, punitive damages, and her attorneys’ fees and costs.

                                          JURISDICTION

           2.       This Court has original jurisdiction over Plaintiff’s claims as they arise under

    federal law, pursuant to Title VII, and the actions giving rise to this lawsuit occurred in Palm

    Beach County, Florida. The Court has supplemental jurisdiction over Plaintiff’s FCRA claims

    pursuant to 28 U.S.C. § 1367, as these claims are so related to Plaintiff’s Title VII claim that
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    it forms part of the same case or controversy.

           3.        Plaintiff timely dual-filed a Charge of Discrimination with the Equal

    Employment Opportunity Commission (“EEOC”), and the Florida Commission on Human

    Relations (“FCHR”) on or about June 26, 2020, and an amended charge on July 2, 2020.

           4.        On or about April 23, 2021, Plaintiff received her Notice of Right to Sue

    from the EEOC giving her 90 days to file a lawsuit upon her receipt of same.

           5.        More than 180 days have passed since the filing of the Charge of

    Discrimination.

           6.        Plaintiff timely files this lawsuit, and has complied with all administrative

    prerequisites.

           7.        Defendant is a Florida Profit Corporation that is registered to do business in

    the state of Florida, including, among other places, Palm Beach County, Florida.

           8.        All Conditions precent to this action have been satisfied and/or waived.

                                               VENUE

           9.        Venue is proper because Defendant conducts substantial business in Palm

    Beach County, Florida, and Plaintiff worked for Defendant in Palm Beach County, Florida,

    where the actions at issue took place.

                                              PARTIES

           10.       Plaintiff is protected by Title VII and FCRA because:

                     a.     She is a lesbian woman;

                     b.     She suffered discrimination and retaliation by Defendant on

           the basis of her sexual orientation; and

                     c.     She suffered an adverse employment action and was subjected

           to an increasingly hostile work environment based on her sexual orientation


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            including being terminated for same.

            11.     Defendant was at all material times an “employer” as defined Title VII/FCRA,

    as it employed in excess of fifteen (15) employees.

                                   GENERAL ALLEGATIONS

            12.     Ms. Balliache worked for Realtime as a Senior Property Manager from

    December 26, 2018, until her termination on September 25, 2019.

            13.     During her tenure with Realtime, Ms. Balliache was an excellent employee,

    who had no significant history of performance, disciplinary, or attendance issues.

            14.     Throughout her employment, Assistant Property Manager, Lillian Wolle

    (“Ms. Wolle”), viciously discriminated against our client for no other reason than our client’s

    sexuality and who she loves.

            15.     Within the first two (2) weeks after Ms. Balliache began working for Realtime,

    Ms. Wolle began consistently degrading our client with discriminatory comments towards her

    sexuality on a near-daily basis.

            16.     Specifically, Ms. Wolle made such comments as, “being gay is disgusting,” “I

    can’t believe you gave up dick,” “you visually look like a lesbian”, called “not ladylike,”

    referred to as a “mutt” and many other offensive comments.

            17.     Ms. Wolle’s severe and pervasive comments are direct evidence of sexual

    orientation discrimination in violation of Title VII/FCRA.

            18.     Throughout her employment, Ms. Balliache objected multiple times to Owner,

    Beth White (“Ms. White”), but the latter dismissed all verbal complaints.

            19.     Unable to withstand the harassment any further, on September 17, 2019, and

    September 19, 2019, Ms. Balliache reduced her complaints to writing and sent them to Ms.

    White via e-mail.


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            20.     Ms. Balliache’s verbal and written complaints are considered protected

    activity under Title VII and the FCRA.

            21.     The same day that Ms. Balliache objected to illegal sexual orientation

    discrimination, Ms. White and Human Resources Representative, “Rachel,” called our client

    into a meeting to ostensibly address her concerns.

            22.     However, instead of assessing the discrimination that our client endured,

    Rachel called into question our client’s performance, informed her that Ms. Wolle was not

    her subordinate, and accused her, the victim, of having a negative attitude.

            23.     Realtime’s victim-blaming actions are unacceptable and are in direct contrast

    to the anti-retaliation provisions of Title VII and the FCRA.

            24.     Realtime was unable or unwilling to conduct a fair and professional

    investigation into Plaintiff’s objections and merely attempted to find ways to retaliate against

    the injured party.

            25.     As such, on September 25, 2019, just a few days after Plaintiff objected to

    the discrimination she was enduring, Ms. White and Rachel terminated Ms. Balliache in

    violation of the law.

            26.     When Ms. Balliache asked why she was being terminated, Rachel accused

    our client of being “insubordinate and uncooperative,” while being unable to provide any

    specific examples of the alleged behavior. This is clear pretext.

            27.     It is evident that Realtime fired Plaintiff due to her sexuality and in

    retaliation to her objections in clear violation of Title VII/FCRA.

            28.     Title VII and the FCRA prohibit sexual orientation discrimination in the

    workplace, and protects employees from retaliation when they object to same.

            29.     Plaintiff’s termination constitutes an adverse action as defined by Title


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    VII/FCRA.

            30.       Plaintiff suffered an adverse action as a result of her sexual orientation and

    her objections to sexual orientation discrimination.

            31.       At all material times hereto, Plaintiff was ready, willing and able to perform

    her job duties.

            32.       Defendant does not have a non-discriminatory, non-retaliatory rationale for

    allowing and participating in the discrimination and termination suffered by Plaintiff.

            33.       Plaintiff has suffered damages as a result of Defendant’s illegal conduct

    towards her.

            34.       Plaintiff has retained the law firm of RICHARD CELLER LEGAL, P.A.,

    to represent her in the litigation and has agreed to pay the firm a reasonable fee for its

    services.

                        COUNT I: DISCRIMINATION IN
            VIOLATION OF TITLE VII BASED ON SEXUAL ORIENTATION

            35.       Plaintiff realleges and adopts the allegations contained in paragraphs 1

    through 34 of the Complaint as if fully set forth in this Count.

            36.       The acts of Defendant, by and through its agents and employees, violated

    Plaintiff’s rights against sexual orientation discrimination under Title VII.

            37.       The discrimination to which Plaintiff was subjected was based on her sexual

    orientation.

            38.       Title VII prohibits sexual orientation discrimination in the workplace. See

    Bostock v. Clayton Co. Ga., 140 S. Ct. 1731, 207 L.Ed.2d 218 (2020).

            39.       Plaintiff has suffered damages as a result of Defendant’s illegal conduct

    toward her.



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           40.     The conduct of Defendant was so willful, wanton, and in reckless disregard

    of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages against

    Defendant, to deter it, and others, from such conduct in the future.

           41.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

    expenses pursuant to Title VII.

           42.     Plaintiff has no plain, adequate, or complete remedy at law for the actions

    of Defendant, which have caused, and continue to cause, irreparable harm.

           WHEREFORE, Plaintiff demands trial by jury, reemployment/reinstatement,

    back pay, lost wages, front pay if reinstatement and/or reemployment is not possible,

    compensatory damages, punitive damages, and attorneys’ fees and costs.

                         COUNT II: RETALIATION IN
           VIOLATION OF TITLE VII BASED ON OBJECTIONS TO SEXUAL
                      ORIENTATION DISCRIMINATION

           43.     Plaintiff realleges and adopts the allegations contained in paragraphs 1

    through 34 of the Complaint as if fully set forth in this Count.

           44.     The acts of Defendant by and through its agents and employees, violated

    Plaintiff’s rights against being retaliated against for opposing discrimination under Title

    VII of the Civil Rights Act of 1964, as amended. 42 U.S.C. § 2000e, et seq.

           45.     The retaliation to which Plaintiff was subjected was based on her opposition

    to Defendant’s illegal and discriminatory actions based on her sexual orientation.

           46.     The conduct of Defendant its agents and employees proximately, directly,

    and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits,

    future pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental

    anguish, loss of enjoyment of life, and other non-pecuniary losses.

           47.     The conduct of Defendant was so willful and wanton, and in such reckless


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    disregard of the statutory rights of Plaintiff, as to entitle her to an award of punitive

    damages against Defendant to deter it, and others, from such conduct in the future.

           48.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

    expenses pursuant to 42 U.S.C. § 2000e-5(k).

           49.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

    Defendant, which have caused, and continue to cause, irreparable harm.

           WHEREFORE, Plaintiff demands trial by jury, reemployment/reinstatement,

    back pay, unpaid wages, front pay if reinstatement and/or reemployment is not possible,

    compensatory damages, punitive damages, and attorneys’ fees and costs.

                       COUNT I: DISCRIMINATION IN
           VIOLATION OF THE FCRA BASED ON SEXUAL ORIENTATION

           50.     Plaintiff realleges and adopts the allegations contained in paragraphs 1

    through 34 of the Complaint as if fully set forth in this Count.

           51.     The acts of Defendant, by and through its agents and employees, violated

    Plaintiff’s rights against sexual orientation discrimination under the FCRA.

           52.     The discrimination to which Plaintiff was subjected was based on her sexual

    orientation.

           53.     FCRA prohibits sexual orientation discrimination in the workplace. See

    Bostock v. Clayton Co. Ga., 140 S. Ct. 1731, 207 L.Ed.2d 218 (2020); Fla. Dept. of

    Community Affairs v. Bryant, 586 So. 2d 1205 (Fla. 1st DCA 1991) (“Because [the FCRA]

    is patterned after Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, federal

    case law dealing with Title VII is applicable.”).

           54.     Plaintiff has suffered damages as a result of Defendant’s illegal conduct

    toward her.



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            55.    The conduct of Defendant was so willful, wanton, and in reckless disregard

    of the statutory rights of Plaintiff, as to entitle her to an award of punitive damages against

    Defendant, to deter it, and others, from such conduct in the future.

            56.    Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

    expenses pursuant to the FCRA.

            57.    Plaintiff has no plain, adequate, or complete remedy at law for the actions

    of Defendant, which have caused, and continue to cause, irreparable harm.

            WHEREFORE, Plaintiff demands trial by jury, reemployment/reinstatement,

    back pay, lost wages, front pay if reinstatement and/or reemployment is not possible,

    compensatory damages, punitive damages, and attorneys’ fees and costs.

                        COUNT II: RETALIATION IN
          VIOLATION OF THE FCRA BASED ON OBJECTIONS TO SEXUAL
                      ORIENTATION DISCRIMINATION

            58.    Plaintiff realleges and adopts the allegations contained in paragraphs 1

    through 34 of the Complaint as if fully set forth in this Count.

            59.    The acts of Defendant by and through its agents and employees, violated

    Plaintiff’s rights against being retaliated against for opposing discrimination under the

    FCRA.

            60.    The retaliation to which Plaintiff was subjected was based on her opposition

    to Defendant’s illegal and discriminatory actions based on her sexual orientation.

            61.    The conduct of Defendant its agents and employees proximately, directly,

    and foreseeably injured Plaintiff, including, but not limited to, lost wages and benefits,

    future pecuniary losses, emotional pain and suffering, humiliation, inconvenience, mental

    anguish, loss of enjoyment of life, and other non-pecuniary losses.

            62.    The conduct of Defendant was so willful and wanton, and in such reckless


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    disregard of the statutory rights of Plaintiff, as to entitle her to an award of punitive

    damages against Defendant to deter it, and others, from such conduct in the future.

           63.     Plaintiff is entitled to recover reasonable attorneys’ fees and litigation

    expenses pursuant to the FCRA.

           64.     Plaintiff has no plain, adequate or complete remedy at law for the actions of

    Defendant, which have caused, and continue to cause, irreparable harm.

           WHEREFORE, Plaintiff demands trial by jury, reemployment/reinstatement,

    back pay, unpaid wages, front pay if reinstatement and/or reemployment is not possible,

    compensatory damages, punitive damages, and attorneys’ fees and costs.



                                     JURY TRIAL DEMAND

           Plaintiff demands a trial by jury on all issues so triable.

    Respectfully submitted this 1st day of July, 2021.

                                                   By: _Noah E. Storch______
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